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                            UNITED ST ATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                    Case No.: 22-cv-60974-RS
                                                                           FILED B'r'  AJ.ft   D.C.
    GREEN TREE SERVICING, LLC
         Plaintiff,                                                                AUG 1 7 2022
    V.                                                                             ANGELA E. NOBLE
                                                                                  CLERK U.S. DIST CT.
                                                                                S. D. OF FLA . - FT. LAUD.

    MARC WEINBERGER, et. al
        Defendant.          I
       DEFENDANT'S MOTION FOR RECONSIDERATION OF ORDER OF
                 REMAND AND BRIEF IN SUPPORT THEREOF

            COMES NOW Defendant, Marc Weinberger and pursuant to Fed. R. Civ. 59

    respectfully submits this, my Motion for Reconsideration of this Court' s August 8, 2022

    Remand Order [DE 7] and in support hereof states:

         A. Introduction

            Reconsideration is appropriate in this case to correct a manifest error of law and to

    prevent manifest injustice. See Peress v. Wand, 597 F.Supp.2d 1320 (S.D. Fla. 2008)

    (proper grounds for reconsideration include the correction of a manifest error of law and

    to prevent injustice). Burger King Corp. v. Ashland Equities, Inc. 181 F.Supp.2d 1366

    (S.D. Fla. 2002) (proper grounds for reconsideration include the correction of a manifest

    error of law and to prevent injustice).

            Here, I respectfully submit that the Court's August 8, 2022 order of remand

    ("remand order"), was manifestly erroneous in that the district court cannot enter a sua

    sponte remand order based on perceived "procedural, non-jurisdictional " defects in the

    removal process - such a remand order would be unjust, and is manifestly contrary to law.

         B. Background




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             On May 23, 2022, I, a prose litigant 1, removed the underlying state court case from

    the 17th Judicial Circuit Court, in and for Broward County, Florida to this federal court

    because of, among other grounds, the previous party Green Tree Servicing, LLC ("Green

    Tree) and Defendant Marc Weinberger' s diverse citizenship.                     [DE 1].      However, in

    response to non-party Green Tree's June 21 , 2022 inappropriate motion to remand [DE 3],

    Defendant discovered that, as of February 14, 2017, an entity by the name of "Ditech

    Financial, LLC" ("DITECH"), is actually the "Plaintiff' in this matter. [DE 6] Moreover,

    the previous Plaintiff Green Tree no longer exist as a company here in Florida, and for that

    reason alone, has no standing to appear in this federal removal action. [See DE 6]

             On August 8, 2022, the Honorable Judge Rodney Smith entered an order remanding

    this case back to the state court from which it came. [See DE 7]. Respectfully however,

    the Court's remand order is erroneous as it was entered sua sponte, as Plaintiff DITECH

    never filed a motion in this Court to remand this case back to the state court.

    Notwithstanding, the Court's August 8, 2022 remand order is based on a perceived

    "procedural defects" - respectfully, this the Court should not do.

             In its August 8, 2022 sua sponte order of remand, it appears that the Court remanded

    the case back because of two non-jurisdictional reasons: 1) "because removal is untimely;

    and 2) because Defendant Marc Weinberger is a citizen of the forum state from which he seeks

    removal". (Emphasis added).

             In sum, it appears that the Court's August 8, 2022 remand order is based on

    "untimeliness" and what's customarily referred to as the "defendant forum rule" - that' s



    1
     "A prose litigant's pleadings must be construed more liberally than pleadings drafted by attorneys. See
    Haines v. Kerner, 404 U.S. 519, 520-21 (1972); see also Mil/erv. Donald, 541 F.3d 1091 , 1100 (11th Cir.
    2008) ("prose pleadings are held to a less stringent standard than those pleadings drafted by attorneys and
    will , therefore, be liberally construed").


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    when "a federal court lacks subject matter jurisdiction over a matter brought under 28

    U.S.C. section 1332(a) if a defendant is a citizen of the state in which the action is brought".

            Yes, it may be true that I, the Defendant Marc Weinberger is a citizen of the State

    of Florida and that the action was brought here in the state of Florida. Likewise, Defendant

    does not dispute that the removal petition may have been filed untimely.

            However, and as explained below, Plaintiff DITECH choose to waive all "non-

    jurisdictional" defects, including those such as "untimeliness" and the "defendant forum

    rule", by failing to raise such procedural arguments within 30 days of my filing of the May

    23 , 2022 notice ofremoval.

              BRIEF IN SUPPORT OF MOTION FOR RECONSIDERATION

       •    A Court Cannot Remand Sua Sponte
            for a "Procedural Defect " - and Prior to a Timely Filed
            Motion to Remand

            In Whole Health Chiropractic & Wellness, Inc. v. Humana Medical Plan, Inc. , the

    Eleventh Circuit Court of Appeals held that 28 U.S.C. § 1447(c) does not authorize any

    sua sponte remand order not based on subject matter jurisdiction - even if made within the

    thirty-day period. (Emphasis Added). Rather, the court must wait for the plaintiff to file

    a motion for remand. Here, the Plaintiff, DITECH never filed such a motion for remand.

            Where a defect is procedural, remand sua sponte is erroneous. See Yusefzadeh v.

    Nelson, Mullins, Riley & Scarborough, 365 F.3d 1244 (11th Cir. 2004). (A "court which

    has subject matter jurisdiction may not remand the case sua sponte.").

       I.      28 U.S.C. § 1447(c)

            Pursuant to 28 U.S.C. 1447(c), a motion to remand the case based on any defect in

    the removal procedure, must be made within 30 days after the filing of the notice of




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    removal under section 1446(a). Here, and pursuant to 28 U.S.C. 1447(c), any objections

    to defects in the May 23, 2022 removal procedures, were waived by Plaintiff, DITECH' s

    failure to timely file a motion for remand within thirty days.

            Section 1447(c) specifies two grounds for remanding a removed case: (1) lack of

    subject matter jurisdiction; or (2) procedural defect in the removal of the case. Things

    Remembered, Inc. v. Petrarca, 516 U.S. 124, 127-28, 116 S.Ct. 494, 133 L.Ed.2d 461

    (1995); Florida Polk County, 170 F.3d at 1083.

            Clearly, this Court' s August 8, 2022 order, remanded the case to state court because

    of the perception that the removal was untimely and that the defendant-forum rule was not

    met. However, both untimeliness and the defendant-forum rule are merely procedural

    defects that does not effect this Court's subject matter jurisdiction. In general, a procedural

    defect is any technical substantive or procedural error, which is not a challenge to lack of

    subject matter jurisdiction. Wilson v. General Motors Corp., 888 F.2d 779, 781 n.1 (11th

    Cir. 1989).

            Here, there is no disputing that the Plaintiff DITECH has failed to file a timely

    motion to remand and thus, has waived all objections to the May 23, 2022 removal

    procedure. In fact, Plaintiff DITECH, despite it, or its predecessor being properly noticed

    by the clerk of this Court (and of the state Court), has never even appeared in this instant

    removal action.

           Nevertheless, the Court' s August 8, 2022 remand order was not only entered sua

    sponte, but also was based upon a perceived defect in the removal procedure, and not based

    upon the Court's lack of subject matter jurisdiction as required by the statute. In this instant

    case, the jurisdictional issue is undisputed - this is because of the party's diverse citizenship




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    and because of the fact that the controversy exceeds $75,000 dollars. [ECF. No 1]. It is

    abundantly clear, that here in this present case, the Court relied on grounds other than those

    contained in§ 1447(c).

       II.       Only 30 Days to Remand/or
                 Non-Jurisdictional Procedural
                 Defects

              After I filed my May 23 , 2022 notice of removal petition, Plaintiff, DITECH did

    absolutely nothing here in this court. Providing that 28 U.S.C. § 1447(c) allows a Plaintiffs

    only thirty (30) days to object to removal, Plaintiff DITECH has therefore waived any

    objections to the May 23, 2022 removal procedure. Admittedly, waiver is possible only if

    the "forum-defendant rule" and "untimeliness" are non-jurisdictional defects in the

    removal procedure, which as explained below, it is.

       III.      The "Forum-Defendant Rule"
                 Is a Non-Jurisdictional Procedural
                 Defect

              Yes, it is true that the "forum-defendant rule," may prohibit removal in cases where

    there is an in-state resident defendant. See 28 U.S.C. § 1441(b)(2) ("A civil action

    otherwise removable solely on the basis of the jurisdiction under section 1332(a) of this

    title may not be removed if any of the parties in interest properly joined and served as

    defendants is a citizen of the State in which such action is brought.").

              However, the forum-defendant rule is not jurisdictional in nature. See Lively v. Wild

    Oats Markets , Inc. , 456 F.3d 933 , 940 (9th Cir. 2006) (finding that the forum-defendant

    rule is procedural; identifying that eight of nine circuits to have considered the issue have

    found the same); Pacheco de Perez v. AT & T Co. , 139 F.3d 1368, 1372 n. 4 (11th Cir.




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    1998) (" [R]emoval by the resident defendants is a procedural, and not a jurisdictional

    defect.").

            Because the forum-defendant rule is a non-jurisdictional rule here in the Eleventh

    Circuit, it may be waived. See 28 U.S.C. § 1447(c) ("A motion to remand the case on the

    basis of any defect other than lack of subject matter jurisdiction must be made within 30

    days after the filing of the notice of removal under section 1446(a).") (Emphasis

    added); see also Lively, 456 F.3d at 939. "A plaintiff may either waive the procedural

    defect stemming from a resident defendant's removal or may file a motion to remand within

    30 days ofremoval." Plombco Inc . v. TBC Retail Grp., Inc., No. 13-81026-CIV, 2013 WL

    5863571 , at *2 (S.D. Fla. Oct. 31 , 2013) (citing cases finding the same).

    Untimely Removal is a "Procedural"
    Rather than a "Jurisdictional" Defect

           Respectfully, the portion of the Court's August 8, 2022 sua sponte order (based on

    "untimeliness"), is also erroneous. This is true because the sua sponte order is based on

   "procedural defects", i.e. un-timeliness of the removal petition. 28 U.S.C. 1447(c); also

    See, e.g., Maniar v. FDIC, 979 F.2d 782, 784-85 (9th Cir.1992) ("We hold that untimely

    removal is a procedural defect and not jurisdictional."); Barnes v. Westinghouse Elec.

    Corp., 962 F.2d 513, 516 (5th Cir.) (holding one-year time limit on removal 1s

   "procedural"), cert. denied, 506 U.S. 999, 113 S.Ct. 600, 121 L.Ed.2d 536 (1992).

           Clearly, the un-timeliness of a removal is a procedural, instead of a jurisdictional,

   defect. Also see our Supreme Court's ruling in Things Rememberedv. Petrarca, 516 U.S.

    124, 116 S.Ct. 494, 133 L.Ed.2d 461 (1995), which affirmed a court of appeals' holding

   that it lacked jurisdiction to review a remand based upon untimely removal grounds.




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            Moreover, since PlaintiffDITECH failed to file a motion to remand, any allegations

   here of an untimely removal by me, the Defendant, has by all means - been waived,

   because PlaintiffDITECH choose not to file a motion to remand within 30 days of the May

   23, 2022 removal petition. See McKinnon v. Blue Cross-Blue Shield of Alabama, 691

   F.Supp. 1314 (N.D. Ala. 1988), affd by, 874 F.2d 820 (11th Cir. 1989). See Quentin F.

    Urquhart, Jr., Waiver of Defects in Removal Jurisdiction: Another Path to Federal Court,

   For the Defense 2 (Dec. 1992).

            Clearly, Plaintiff DITECH did not timely move to remand the case, or otherwise

   raise the issue of the defendant-forum rule. Thus, Plaintiff DITECH has waived this

   objection to removal, because it did not move for remand or otherwise bring the alleged

   defect in removal to the Court's attention within the thirty days provided by 28 U.S.C. §

    1447(c).

            Moreover, Plaintiff DITECH has failed to provide any explanation for its delay.

   Accordingly, the Court' s sua sponte remand order based on untimeliness and the forum-

   defendant rule should be reconsidered and vacated.

            This Court' s interpretation of § 1441 (b) should comport with the other eight [out

   of the nine] circuits courts that have addressed this issue. See, e.g. , Handelsman v. Bedford

   Viii. Assocs. Ltd. P'ship, 213 F.3d 48, 50 n. 2 (2d Cir. 2000) (describing a violation of the

   forum defendant rule as a waivable "procedural defect"); Hurley v. Motor Coach Indus.

   Inc., 222 F.3d 377, 380 (7th Cir. 2000) (holding that the forum defendant rule "is more a

   matter      of   removal   procedure,   and       hence   waivable,   than   a   matter    of

   jurisdiction"); Blackburn v. United Parcel Serv., Inc., 179 F.3d 81 , 90 n. 3 (3d Cir. 1999)

   (describing a§ 1441(b) violation as a waivable removal defect); Pacheco de Perez v. AT T




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   Co., 139 F.3d 1368, 1372 n. 4 (11th Cir. 1998) (same); In re Shell Oil Co., 932 F.2d 1518,

    1523 (5th Cir. 1991) (same); Farm Constr. Servs., Inc. v. Fudge, 831 F.2d 18, 22 (1st Cir.

    1987) (holding that a violation of the forum defendant rule did not strip the district court

   of its jurisdiction because it was a "technical" defect that had been waived); Am. Oil Co. v.

   McMullin, 433 F.2d 1091 , 1095 (10th Cir. 1970) (describing a§ 1441(b) violation as a

   waivable defect in removal proceedings); Handley-Mack Co. v. Godchaux Sugar Co., 2

   F.2d 435 , 437 (6th Cir. 1924) (describing removal by a forum defendant as a "technical"

   violation); but see Hurt v. Dow Chem. Co., 963 F.2d 1142, 1146 n. 1 (8th Cir.

    1992) (holding that a violation of§ 1441 (b) is a non-waivable jurisdictional defect).

                                         CONCLUSION

           Clearly, this Court has subject matter jurisdiction over this claim pursuant to 28

   U.S.C. § 1332, known as "diversity jurisdiction." Section 1332 confers subject matter

   jurisdiction upon district courts over civil actions between "citizens of different States" and

   for which the amount in controversy exceeds $75,000, exclusive of interest and costs. 28

   U.S.C. § 1332(a) (1). Here, it is undisputed that the Defendant has meet both of these

   jurisdictional requirements.

           Respectfully however, the Court has exceeded the grounds for remand contained in

   § 1447(c), as the August 8, 2022 remand order is clearly based on a non-jurisdictional

   defects in the removal procedure, and not on the Court's lack of subject matter jurisdiction.

   Moreover, the August 8, 2022 order is not within the bounds of§ 1447(c) because it was

   issued before a timely motion to remand was filed by Plaintiff DITECH as provided in the

   statute. Reading§§ 1447(c) and (d) together, an order remanding on procedural grounds

   either upon an untimely motion or a sua sponte order is not authorized by§ 1447(c).




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          In this instant case, the Court filed its sua sponte remand order on August 8, 2022,

    which is based solely on a perceived procedural defect in my May 23 , 2022 removal

   process. Respectfully, the Court acted outside of its statutory authority by remanding sua

   sponte for a procedural defect.

          WHEREFORE, I, the Defendant Marc Weinberger is hereby requesting that this

   Court reconsider, and thereafter, vacate its August 17, 2022 order remanding this case to

   the state Court from which it came, and for any further relief that the Court deems just.

   Respectfully Submitted.


                                CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing has been furnished by

   U.S. Mail to non-party Green Tree Servicing, LLC ' s attorney, ROBERTSON,




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